Case 1:22-cv-00061-TSK-JPM Document 636 Filed 09/12/23 Page 1 of 3 PageID #: 50334




                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                       AT CLARKSBURG


    REGENERON PHARMACEUTICALS, INC.,

              Plaintiff,
        v.                                                   Civil Action No. 1:22-cv-00061-TSK

    MYLAN PHARMACEUTICALS INC., and
    BIOCON BIOLOGICS INC.,

              Defendants.


        JOINT STATUS REPORT REGARDING UNSEALING AND REDACTION OF
        FILINGS IN RESPONSE TO CELLTRION, INC.’S MOTION TO INTERVENE

             Pursuant to the parties’ August 24, 2023 responses to Celltrion, Inc.’s (“Celltrion”) motion

   to intervene, (Dkt. 605-607), Plaintiff Regeneron Pharmaceuticals, Inc. (“Regeneron”) and

   Defendants Mylan Pharmaceuticals Inc. and Biocon Biologics Inc. (“Defendants”) submit this

   status report regarding the scope of filings to be redacted and/or remain under seal.

             On August 22, 2023, Defendants conferred with Celltrion and inquired to what extent

   Celltrion’s motion differed from that of Amgen USA, Inc. (“Amgen”). (Dkt. 485). As described

   below, the parties have proposed a list of documents to be redacted and unsealed, and Amgen

   expects further docket entries may need to be added to the parties’ lists. Celltrion intends to review

   the parties’ current list as soon as possible and will work with Amgen and the parties to promptly

   identify any additional documents to be redacted or unsealed.

             On August 25, 2023, the parties submitted a notice to the Court identifying whether certain

   documents could be unsealed and/or subject to redaction. (Dkt. 608, 1-3). Amgen responded to

   the parties’ notice on August 29, 2023. (Dkt. 609, 1-2). The parties have since collaborated to
Case 1:22-cv-00061-TSK-JPM Document 636 Filed 09/12/23 Page 2 of 3 PageID #: 50335




   prepare redacted filings, with certain redactions having been filed publicly on September 1 and

   September 8, 2023, and are working diligently to finalize the same. (See, e.g., Dkt. 610-635). In

   order to complete the parties’ efforts to address Amgen’s request, however, Amgen has requested

   that the parties be afforded an opportunity to review the full docket sheet from the Court to ensure

   the appropriate remaining documents are unsealed. (See Dkt. 609, 3-4).

          Celltrion has advised that it is agreeable to proceeding as outlined above. The parties can

   provide a supplemental report after conferring further with Celltrion if the Court deems it

   necessary. The parties will continue to diligently address Amgen’s request and will notify

   Celltrion upon completion so it may begin its independent review and supplementation.


   Dated: September 12, 2023


    STEPTOE & JOHNSON PLLC                               CAREY, DOUGLAS, KESSLER & RUBY, PLLC

    /s/ Gordon H. Copland                                  /s/ David R. Pogue
    Gordon H. Copland (WVSB #828)                        Steven R. Ruby (WVSB #10752)
    William J. O’Brien (WVSB #10549)                     David R. Pogue (WVSB # 10806)
    400 White Oaks Boulevard                             901 Chase Tower,
    Bridgeport, WV 26330                                 707 Virginia Street, East
    (304) 933-8162                                       Charleston, WV 25323
    (304) 933-8181                                       Telephone: (304) 345-1234
                                                         Facsimile: (304) 342-1105
    gordon.copland@steptoe-johnson.com
                                                         mwcarey@csdlawfirm.com
    william.obrien@steptoe-johnson.com
                                                         sruby@cdkrlaw.com

                                                         Counsel for Plaintiff,
    Counsel for Defendants,
                                                         Regeneron Pharmaceuticals, Inc.
    Mylan Pharmaceuticals Inc. and
    Biocon Biologics, Inc.




                                                    2
Case 1:22-cv-00061-TSK-JPM Document 636 Filed 09/12/23 Page 3 of 3 PageID #: 50336




                                     CERTIFICATE OF SERVICE

           I hereby certify that on September 12, 2023, I electronically filed a true copy of the

   foregoing with the Clerk of the Court by using the Court’s CM/ECF system, which will send

   notice of the filing to all counsel of record.




                                                           /s/ Gordon H. Copland
                                                         Gordon H. Copland (WVSB #828)
                                                         400 White Oaks Boulevard
                                                         Bridgeport, WV 26330
                                                         (304) 933-8162
                                                         (304) 933-8181
                                                         gordon.copland@steptoe-johnson.com




                                                     3
